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                                          Certificate Number: 14912-ILN-DE-032137849
                                          Bankruptcy Case Number: 18-33707


                                                          14912-ILN-DE-032137849




             CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on January 9, 2019, at 10:56 o'clock PM EST, Eduardo Ramirez
completed a course on personal financial management given by internet by 001
Debtoredu LLC, a provider approved pursuant to 11 U.S.C. § 111 to provide an
instructional course concerning personal financial management in the Northern
District of Illinois.




Date:   January 9, 2019                   By:      /s/Jai Bhatt


                                          Name: Jai Bhatt


                                          Title:   Counselor
